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                                        Office of the Clerk
                       United States Court of Appeals for the Ninth Circuit
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Molly C. Dwyer
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                                                                                     U.S. COURT OF APPEALS

                                      DOCKETING NOTICE


       Docket Number:           24-7093
       Originating Case Number: 3:23-cv-02065-W-MSB

       Short Title:                 Hodges v. Gloria

      Dear Appellant/Counsel


      A copy of your notice of appeal/petition has been received in the Clerk's office of the
      United States Court of Appeals for the Ninth Circuit. The U.S. Court of Appeals docket
      number shown above has been assigned to this case. You must indicate this Court of
      Appeals docket number whenever you communicate with this court regarding this case.
      Motions filed along with the notice of appeal in the district court are not automatically
      transferred to this court for filing. Any motions seeking relief from this court must be
      separately filed in this court's docket.
      Please furnish this docket number immediately to the court reporter if you place an order,
      or have placed an order, for portions of the trial transcripts. The court reporter will need
      this docket number when communicating with this court.
      Failure of the appellant to comply with the time schedule order may result in
      dismissal of the appeal.
      Please read the enclosed materials carefully.
